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                      IN THE UNITED STATES DISTRIC COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

RICHARD V. KELLY,                      :
                                       :
       Plaintiff,                      :
                                       :
v.                                     :      Civil Action File No.
                                       :      1:09-CV-1498-CAP-WEJ
DUN &BRADSTREET, INC.,                 :
                                       :
       Defendant.                      :

     PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO STRIKE

       Plaintiff Richard V. Kelly hereby submits his Response to Defendant’s

Motion to Strike his Reply in Support of his Objections to the Final Report and

Recommendation of the Magistrate Court (Doc. 123). Defendant’s Motion presents

nothing but an ad hominem attack against Plaintiff for supposedly “over-litigating”

his claims, and apparently seeks to strike Plaintiff’s Reply because it identifies the

lack of meritorious arguments in Defendant’s Response. (Id.).

       While Defendant is correct that neither Federal Rule of Civil Procedure

72(b)(2) nor 28 U.S.C. § 636 provide for replies, this does not render Plaintiff’s

submission of a Reply improper, nor does it deprive this Court of the ability to

consider the arguments raised in Plaintiff’s Reply. Indeed, district courts routinely

consider post-objection filings styled as replies. Faircloth v. Ferrell, No. CV511-
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016, slip. op., 2012 WL 92564 (S.D. Ga. Jan. 11, 2012); Gagan v. United

Consumers Club, Inc., No. 2:10-cv-026 JD, slip. op., 2012 WL 729943, at *1-*2

(N.D. Ind. Mar. 6, 2012) (denying a party’s motion to strike a reply in support of

objections to the magistrate judge’s report and recommendation notwithstanding

the fact that the party did not seek prior leave); Bagwell v. Peachtree Doors and

Windows, Inc., No. 2:08-cv-0191-RWS, slip. op., 2011 WL 1497658 (N.D. Ga.

Apr. 19, 2011); Barr v. J.B. Hunt Transp., Inc., No. 1:05-cv-2509-RWS-GGB, slip.

op., 2007 WL 2904115 (N.D. Ga. Oct. 1, 2007). This is so because the decision to

consider a reply is a determination clearly within the discretion of the district court.

See, e.g., Saunders v. Emory Healthcare, Inc., 360 Fed. Appx. 110, 112-13 (11th

Cir. 2010); Johnson v. England, 350 Fed. Appx. 314, 316 (11th Cir. 2009).

Plaintiff submits that his Reply provides helpful analysis of the issues before the

Court that will assist it in making a proper determination on the Magistrate Court’s

Final Report and Recommendation, and for that reason respectfully requests that

this Court DENY the Defendant’s Motion to Strike.

      Respectfully submitted this 31st day of October, 2012.




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                                         BUCKLEY & KLEIN, LLP

                               By:       s/ Brian J. Sutherland
                                         Brian J. Sutherland
                                         Georgia Bar No. 105408
                                         bjsutherland@buckleyklein.com
                                         Edward D. Buckley
                                         Georgia Bar No. 092750
                                         edbuckley@buckleyklein.com

1230 Peachtree Street, Suite 900
Atlanta, Georgia 30309
404-781-1100 Phone
404-781-1101 Facsimile

Counsel for Plaintiff Richard V. Kelly




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                                      :       1:09-CV-1498-CAP-WEJ
DUN &BRADSTREET, INC.,                :
                                      :
      Defendant.                      :

                         CERTIFICATE OF SERVICE

      I hereby certify that on October 31, 2012, I electronically filed Plaintiff’s

Response to Defendant’s Motion to Strike with the Clerk of Court using the

CM/ECF system which will automatically send email notification of such filing to

the following attorneys of record:

      Halima Horton
      Curtis Mack
      Nancy J. Fonti
      McGUIRE WOODS LLP

                                      BUCKLEY & KLEIN, LLP

                                By:   s/ Brian J. Sutherland
                                      Brian J. Sutherland
                                      Georgia Bar No. 105408
                                      Counsel for Plaintiff Richard V. Kelly




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